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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


 JOHN SCATCHELL, SR.,

              Plaintiff,                     Case No. 18-cv-3989

       v.                                    Judge John F. Kness

 VILLAGE OF MELROSE PARK, an
 Illinois Municipal Corporation;
 RONALD M. SERPICO; SAM C.
 PITASSI; MICHAEL CASTELLAN;
 and STEVEN ROGOWSKI,

              Defendants.




                              SCHEDULING ORDER

      The Court has received the parties’ “JOINT FRCP 26(F) REPORT,” which

contains a proposed discovery plan as required by Rule 26(f)(2). Based in part on the

discovery plan proposed by the parties, the Court hereby sets the following scheduling

order under Rule 16(b). The Court will modify this schedule “only for good cause.” See

Fed. R. Civ. P. 16(b)(4). In setting this schedule, the Court is aware that the current

circumstance of the COVID-19 public health emergency may require modification of

the schedule upon motion of the parties.


                  Event                                     Deadline
                                            Complete, but subject to any required
 Mandatory Initial Discovery Responses
                                            additional and ongoing disclosures
 Amendment(s) to the pleadings              June 12, 2020

 Completion of Fact Discovery               August 14, 2020
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Disclosure of Plaintiff’s Expert
                                           September 25, 2020
Report(s)
Deposition of Plaintiff’s Expert           October 26, 2020
Disclosure of Defendant’s Expert
                                           November 25, 2020
Report(s)
Deposition of Defendant’s Expert           December 23, 2020

Dispositive Motions                        February 1, 2021



SO ORDERED.

Date: May 6, 2020
                                             JOHN F. KNESS
                                             United States District Judge




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